                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 1 of 71

 Fill in this information to identify your case and this filing:
 Debtor 1            Christopher          Lance                 Roberts
                     First Name           Middle Name           Last Name

 Debtor 2            Jordan               Gabrielle             Greene
 (Spouse, if filing) First Name           Middle Name           Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         16-34006
 (if known)                                                                                                       Check if this is an
                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          No. Go to Part 2.
          Yes. Where is the property?

1.1.                                            What is the property?                           Do not deduct secured claims or exemptions. Put the
30306 Emerson Creek Dr., Spring,                Check all that apply.                           amount of any secured claims on Schedule D:
                                                      Single-family home                        Creditors Who Have Claims Secured by Property.
Texas 77386                                     
                                                     Duplex or multi-unit building             Current value of the       Current value of the
                                                      Condominium or cooperative                entire property?           portion you own?
Montgomery                                      
County                                               Manufactured or mobile home                         $187,820.00                $187,820.00
                                                     Land
                                                     Investment property                       Describe the nature of your ownership
                                                      Timeshare                                 interest (such as fee simple, tenancy by the
                                                                                               entireties, or a life estate), if known.
                                                     Other

                                                Who has an interest in the property?
                                                                                                Homestead
                                                Check one.

                                                     Debtor 1 only                                Check if this is community property
                                                      Debtor 2 only                                 (see instructions)
                                                
                                                     Debtor 1 and Debtor 2 only
                                                     At least one of the debtors and another

                                                Other information you wish to add about this item, such as local
                                                property identification number:




Official Form 106A/B                                          Schedule A/B: Property                                                       page 1
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Debtor 1         Christopher             Lance                   Roberts                             Case number (if known)        16-34006
                 First Name              Middle Name             Last Name

1.2.                                                    What is the property?                              Do not deduct secured claims or exemptions. Put the
5734 Meadow Creek Ln., Houston,                         Check all that apply.                              amount of any secured claims on Schedule D:
                                                            Single-family home                             Creditors Who Have Claims Secured by Property.
Texas 77017                                             
                                                           Duplex or multi-unit building                  Current value of the            Current value of the
5734 Meadow Creek Lane                                      Condominium or cooperative                     entire property?                portion you own?
                                                        
                                                           Manufactured or mobile home                                 $87,700.00                  $87,700.00
                                                           Land
Harris
County                                                     Investment property                            Describe the nature of your ownership
                                                            Timeshare                                      interest (such as fee simple, tenancy by the
                                                                                                          entireties, or a life estate), if known.
                                                           Other

                                                        Who has an interest in the property?
                                                                                                           Investment Property
                                                        Check one.

                                                           Debtor 1 only                                     Check if this is community property
                                                            Debtor 2 only                                      (see instructions)
                                                        
                                                           Debtor 1 and Debtor 2 only
                                                           At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................            $275,520.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes

3.1.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Ford                      Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Flex LTD                  
                                                           Debtor 2 only                           Current value of the                   Current value of the
Year:                         2013                                                                  entire property?                       portion you own?
                                                           Debtor 1 and Debtor 2 only
Approximate mileage: 42,200                                 At least one of the debtors and another
                                                                                                              $24,175.00                           $24,175.00
Other information:
2013 Ford Flex LTD (approx. 42200                          Check if this is community property
miles)                                                      (see instructions)

3.2.                                                    Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Dodge                     Check one.                                         amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Ram                       
                                                           Debtor 2 only                           Current value of the                   Current value of the
Year:                         2015                                                                  entire property?                       portion you own?
                                                           Debtor 1 and Debtor 2 only
Approximate mileage: 16,000                                 At least one of the debtors and another
                                                                                                              $36,575.00                           $36,575.00
Other information:
2015 Dodge Ram (approx. 16000                              Check if this is community property
miles)                                                      (see instructions)
4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

5.     Add the dollar value of the portion you own for all of your entries from Part 2, including any
       entries for pages you have attached for Part 2. Write that number here.........................................................             $60,750.00




Official Form 106A/B                                                  Schedule A/B: Property                                                               page 2
                              Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 3 of 71
Debtor 1         Christopher                 Lance                       Roberts                                   Case number (if known)            16-34006
                 First Name                  Middle Name                 Last Name


  Part 3:          Describe Your Personal and Household Items
                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe..... See continuation page(s).                                                                                                                $1,810.00

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe..... See continuation page(s).                                                                                                                $2,700.00

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe..... Music Equipment                                                                                                                          $1,000.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe..... Everyday Clothes and Shoes                                                                                                                 $800.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe..... Wedding Ring                                                                                                                             $6,000.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

          No
          Yes. Describe..... Two Dogs                                                                                                                                   $200.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list

          No
          Yes. Give specific
           information.............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................               $12,510.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                        page 3
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Debtor 1         Christopher                      Lance                           Roberts                                         Case number (if known)                   16-34006
                 First Name                       Middle Name                     Last Name


 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.................................................................................................................................... Cash: ..........................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes............................                    Institution name:

            17.1.       Checking account:                     Checking account
                                                              Compass Bank Acct ending 8427                                                                                                       $100.00
            17.2.       Other financial account: Other financial account
                                                              Woodforest Bank Acct. ending 0992                                                                                                      $7.00
            17.3.       Other financial account: Other financial account
                                                              USAA Federal Acct. Ending 0589-2                                                                                                      $15.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes............................     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them..........................      Name of entity:                                                                                         % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them..........................      Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:                   Institution name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 4
                              Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 5 of 71
Debtor 1         Christopher                  Lance                 Roberts                         Case number (if known)      16-34006
                 First Name                   Middle Name           Last Name

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes............................ Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes............................   Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific
           information about them

Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                                     Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                      State:                    $0.00
           and the tax years......................
                                                                                                                              Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                                         Alimony:                              $0.00
                                                                                                                  Maintenance:                          $0.00
                                                                                                                  Support:                              $0.00
                                                                                                                  Divorce settlement:                   $0.00
                                                                                                                  Property settlement:                  $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

          No
          Yes. Give specific information




Official Form 106A/B                                                    Schedule A/B: Property                                                           page 5
                              Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 6 of 71
Debtor 1         Christopher                Lance                       Roberts                                  Case number (if known)            16-34006
                 First Name                 Middle Name                 Last Name

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

          No
          Yes. Name the insurance
           company of each policy
           and list its value................    Company name:                                              Beneficiary:                               Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

          No
          Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

          No
          Yes. Describe each claim........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

          No
          Yes. Describe each claim........

35. Any financial assets you did not already list

          No
          Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................                $122.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

          No
          Yes. Describe..

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe..

41. Inventory

          No
          Yes. Describe..

42. Interests in partnerships or joint ventures

          No
          Yes. Describe..... Name of entity:                                                                                     % of ownership:


Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 6
                              Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 7 of 71
Debtor 1         Christopher                Lance                       Roberts                                  Case number (if known)            16-34006
                 First Name                 Middle Name                 Last Name

43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
                 Yes. Describe.....
44. Any business-related property you did not already list

          No
          Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................                   $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

          No
          Yes....

48. Crops--either growing or harvested

          No
          Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes....

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes....

51. Any farm- and commercial fishing-related property you did not already list

          No
          Yes. Give specific
           information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                   $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
          Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                         $0.00



Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 7
                               Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 8 of 71
Debtor 1          Christopher                   Lance                         Roberts                                       Case number (if known)                16-34006
                  First Name                    Middle Name                   Last Name


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................           $275,520.00

56. Part 2: Total vehicles, line 5                                                                                 $60,750.00

57. Part 3: Total personal and household items, line 15                                                            $12,510.00

58. Part 4: Total financial assets, line 36                                                                             $122.00

59. Part 5: Total business-related property, line 45                                                                        $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                         $0.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                            $73,382.00             property total                  +    $73,382.00


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................       $348,902.00




Official Form 106A/B                                                                Schedule A/B: Property                                                                           page 8
                          Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 9 of 71
Debtor 1     Christopher         Lance            Roberts                      Case number (if known)   16-34006
             First Name          Middle Name      Last Name


6.   Household goods and furnishings (details):

     Refrigerator                                                                                                  $250.00

     Two Leather Couches                                                                                           $200.00

     Two Media stands                                                                                              $200.00

     One Desk                                                                                                       $80.00
     Two Office chairs
     2 console tables/cabinets                                                                                      $50.00

     Dining room table with four chairs                                                                            $100.00

     Stove/Oven                                                                                                    $250.00

     King bed and mattress                                                                                         $150.00

     Full bed frame and mattress                                                                                    $50.00

     Twin bed and mattress                                                                                          $40.00

     One toddler bed and mattress                                                                                   $50.00

     Four dressers                                                                                                 $250.00

     Three nightstands                                                                                              $60.00

     Patio set                                                                                                      $60.00

     Two bar stools                                                                                                 $20.00

7.   Electronics (details):

     Washer and Dryer                                                                                              $400.00

     Dishwasher                                                                                                    $250.00

     Three TV's                                                                                                    $800.00

     Two Cameras                                                                                                   $600.00

     Personal Computer and monitor                                                                                 $150.00

     Laptop Computer                                                                                               $100.00

     Four Tablets                                                                                                  $400.00




Official Form 106A/B                                  Schedule A/B: Property                                          page 9
                      Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 10 of 71

 Fill in this information to identify your case:
 Debtor 1            Christopher          Lance                  Roberts
                     First Name           Middle Name            Last Name
 Debtor 2            Jordan               Gabrielle              Greene
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS
                                                                                                                    Check if this is an
 Case number         16-34006                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $187,820.00                $63,294.50          Const. art. 16 §§ 50, 51, Texas
30306 Emerson Creek Dr., Spring                                                  100% of fair market     Prop. Code §§ 41.001-.002
                                                                                  value, up to any
Line from Schedule A/B:      1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                         $24,175.00                   $0.00            Tex. Prop. Code §§ 42.001(a),
2013 Ford Flex LTD (approx. 42200 miles)                                         100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                         $36,575.00                   $0.00            Tex. Prop. Code §§ 42.001(a),
2015 Dodge Ram (approx. 16000 miles)                                             100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:      3.2
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 11 of 71
Debtor 1      Christopher        Lance                 Roberts                       Case number (if known)   16-34006
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Refrigerator                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Two Leather Couches                                                         100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Two Media stands                                                            100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $80.00                   $80.00           Tex. Prop. Code §§ 42.001(a),
One Desk                                                                    100% of fair market    42.002(a)(1)
Two Office chairs                                                            value, up to any
Line from Schedule A/B:     6                                                applicable statutory
                                                                             limit

Brief description:                                       $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
2 console tables/cabinets                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Dining room table with four chairs                                          100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Stove/Oven                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                 $150.00           Tex. Prop. Code §§ 42.001(a),
King bed and mattress                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
Full bed frame and mattress                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 12 of 71
Debtor 1      Christopher        Lance                 Roberts                       Case number (if known)   16-34006
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $40.00                   $40.00           Tex. Prop. Code §§ 42.001(a),
Twin bed and mattress                                                       100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
One toddler bed and mattress                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Four dressers                                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $60.00                   $60.00           Tex. Prop. Code §§ 42.001(a),
Three nightstands                                                           100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $60.00                   $60.00           Tex. Prop. Code §§ 42.001(a),
Patio set                                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                   $20.00           Tex. Prop. Code §§ 42.001(a),
Two bar stools                                                              100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                 $400.00           Tex. Prop. Code §§ 42.001(a),
Washer and Dryer                                                            100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                 $250.00           Tex. Prop. Code §§ 42.001(a),
Dishwasher                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $800.00                 $800.00           Tex. Prop. Code §§ 42.001(a),
Three TV's                                                                  100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 13 of 71
Debtor 1      Christopher        Lance                 Roberts                       Case number (if known)   16-34006
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $600.00                 $600.00           Tex. Prop. Code §§ 42.001(a),
Two Cameras                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $150.00                 $150.00           Tex. Prop. Code §§ 42.001(a),
Personal Computer and monitor                                               100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                 $100.00           Tex. Prop. Code §§ 42.001(a),
Laptop Computer                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                 $400.00           Tex. Prop. Code §§ 42.001(a),
Four Tablets                                                                100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00               $1,000.00          Tex. Prop. Code §§ 42.001(a),
Music Equipment                                                             100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $800.00                 $800.00           Tex. Prop. Code §§ 42.001(a),
Everyday Clothes and Shoes                                                  100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:     11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $6,000.00               $6,000.00          Tex. Prop. Code §§ 42.001(a),
Wedding Ring                                                                100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:     12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Two Dogs                                                                    100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:     13
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
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  Fill in this information to identify your case:
  Debtor 1             Christopher           Lance                  Roberts
                       First Name            Middle Name            Last Name

  Debtor 2            Jordan                 Gabrielle              Greene
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number          16-34006
  (if known)                                                                                                          Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $66,751.00              $87,700.00
Ditech Financial Llc                             5734 Meadow Creek Lane
Creditor's name
332 Minnesota St Ste 610
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Saint Paul               MN      55101            Unliquidated
City                     State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                   Conventional Real Estate Mortgage
       to a community debt
Date debt was incurred           05/2007         Last 4 digits of account number        8     5    2    4




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $66,751.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
                         Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 15 of 71
Debtor 1        Christopher           Lance               Roberts                          Case number (if known)      16-34006
                First Name            Middle Name         Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                            $51,269.00              $24,175.00        $27,094.00
Ford Motor Credit                              2013 Ford Flex LTD (approx.
Creditor's name
PO Box 62180                                   42200 miles)
Number      Street


                                               As of the date you file, the claim is: Check all that apply.
                                                Contingent
Colorado Springs CO             80962           Unliquidated
City                    State   ZIP Code
                                                Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                  Automobile
       to a community debt
Date debt was incurred          01/2013        Last 4 digits of account number        2     1    7    9

  2.3                                          Describe the property that
                                               secures the claim:                               $1,351.50           $187,820.00
Property Owner's Association Legen
Creditor's name
                                               30306 Emerson Creek Dr.,
PO Box 803555                                  Spring
Number      Street


                                               As of the date you file, the claim is: Check all that apply.
                                                Contingent
Dallas                  TX      75380-3555      Unliquidated
City                    State   ZIP Code
                                                Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                  HOA
       to a community debt
Date debt was incurred                         Last 4 digits of account number        3     1    7    5




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $52,620.50

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
                         Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 16 of 71
Debtor 1        Christopher           Lance               Roberts                          Case number (if known)      16-34006
                First Name            Middle Name         Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.4                                          Describe the property that
                                               secures the claim:                           $123,174.00             $187,820.00
Quickn Loans                                   30306 Emerson Creek Dr.,
Creditor's name
1050 Woodward Ave                              Spring
Number      Street


                                               As of the date you file, the claim is: Check all that apply.
                                                Contingent
Detroit                 MI      48226           Unliquidated
City                    State   ZIP Code
                                                Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                  FHA Real Estate Mortgage
       to a community debt
Date debt was incurred          06/2015        Last 4 digits of account number        5     5    9    9

  2.5                                          Describe the property that
                                               secures the claim:                            $59,599.00              $36,575.00        $23,024.00
Santander Consumer USA/Chrysler C
Creditor's name
                                               2015 Dodge Ram (approx.
PO Box 961275                                  16000 miles)
Number      Street


                                               As of the date you file, the claim is: Check all that apply.
                                                Contingent
Fort Worth              TX      76161           Unliquidated
City                    State   ZIP Code
                                                Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                  Automobile
       to a community debt
Date debt was incurred          06/2015        Last 4 digits of account number        1     0    0    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $182,773.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $302,144.50

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3
                        Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 17 of 71
Debtor 1       Christopher        Lance                  Roberts                       Case number (if known)    16-34006
               First Name         Middle Name            Last Name


 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.



  1
        Property Owners Association Legends Ranc                               On which line in Part 1 did you enter the creditor?          2.3
        Name
        C/O RealManage                                                         Last 4 digits of account number
        Number        Street
        2633 McKinney Ave. #130-502


        Dallas                                   TX       75204-2581
        City                                     State    ZIP Code

  2
        RMWBH                                                                  On which line in Part 1 did you enter the creditor?          2.3
        Name
        c/o Clinton F. Brown                                                   Last 4 digits of account number        0    0    7      4
        Number        Street
        2800 Post Oak Blvd., Suite 5777



        Houston                                  TX       77056
        City                                     State    ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4
                           Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 18 of 71

  Fill in this information to identify your case:
  Debtor 1             Christopher           Lance                  Roberts
                       First Name            Middle Name            Last Name

  Debtor 2            Jordan                 Gabrielle              Greene
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

  Case number          16-34006
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $1,825.00           $1,825.00                $0.00
Woodlands Bankruptcy, PC
Priority Creditor's Name                                   Last 4 digits of account number
46 Trillibng Bird Place                                    When was the debt incurred?          08/04/2016
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                            Contingent
The Woodlands                   TX      77384               Unliquidated
City                            State   ZIP Code            Disputed
Who incurred the debt?     Check one.                      Type of PRIORITY unsecured claim:
 Debtor 1 only                                             Domestic support obligations
 Debtor 2 only                                             Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
 At least one of the debtors and another                     intoxicated
    Check if this claim is for a community debt
                                                            Other. Specify
Is the claim subject to offset?                                Attorney fees for this case
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
                         Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 19 of 71
Debtor 1       Christopher              Lance                 Roberts                           Case number (if known)      16-34006
               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with you other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $1,245.12
Alliance One                                                Last 4 digits of account number         7     5    5    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?
4850 Street Rd., Suite 300
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Trevose                         PA       19053
                                                             Disputed
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                             Student loans
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Collecting for -Capital One Bank
Is the claim subject to offset?
 No
 Yes
Creditor Reference : XXXXX2496
     4.2                                                                                                                                          $3,503.25
American Express                                            Last 4 digits of account number         1     0    0    5
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Correspondence
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 981540                                                Contingent
                                                             Unliquidated
El Paso                         TX       79998
                                                             Disputed
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                              Student loans
  Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
                         Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 20 of 71
Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.3                                                                                                                                 $3,580.00
Amex                                                      Last 4 digits of account number       8    0    0    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        07/1999
Correspondence
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 981540                                              Contingent
                                                           Unliquidated
El Paso                       TX       79998
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
   4.4                                                                                                                                 $3,723.00
Barclays Bank Delaware                                    Last 4 digits of account number       3    9    2    0
Nonpriority Creditor's Name
                                                          When was the debt incurred?        06/2008
PO Box 8801
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Wilmington                    DE       19899
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
   4.5                                                                                                                                   $779.00
Barclays Bank Delaware                                    Last 4 digits of account number       1    6    1    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        06/2006
PO Box 8801
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Wilmington                    DE       19899
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.6                                                                                                                                 $2,235.00
Capital One                                               Last 4 digits of account number       1    3    3    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        05/2011
PO Box 30285
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 62180                                               Contingent
                                                           Unliquidated
Salt Lake City                UT       84130
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
In collections/Portfolio Recovery Associates
   4.7                                                                                                                                   $680.00
Capital One                                               Last 4 digits of account number       0    5    2    5
Nonpriority Creditor's Name
                                                          When was the debt incurred?        04/2015
PO Box 30285
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 62180                                               Contingent
                                                           Unliquidated
Salt Lake City                UT       84130
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
   4.8                                                                                                                                 $4,386.00
Chase Card Services                                       Last 4 digits of account number       6    5    5    7
Nonpriority Creditor's Name
                                                          When was the debt incurred?        09/2007
Attn: Correspondence Dept
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 15298                                               Contingent
                                                           Unliquidated
Wilmington                    DE       19850
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes

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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

   4.9                                                                                                                                   $678.00
Chase Card Services                                       Last 4 digits of account number       1    7    8    9
Nonpriority Creditor's Name
                                                          When was the debt incurred?        08/2004
Attn: Correspondence Dept
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 15298                                               Contingent
                                                           Unliquidated
Wilmington                    DE       19850
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
  4.10                                                                                                                                 $5,740.00
Citibank/Best Buy                                         Last 4 digits of account number       6    8    5    7
Nonpriority Creditor's Name
                                                          When was the debt incurred?        10/2010
Centralized Bankruptcy/CitiCorp Credit S
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 790040                                              Contingent
                                                           Unliquidated
St Louis                      MO       63179
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
  4.11                                                                                                                                 $1,674.00
Compass Bank/BBVA Compass Bk                              Last 4 digits of account number       4    3    1    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        10/2009
Attn:Bankruptcy
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 10566                                               Contingent
                                                           Unliquidated
Birmingham                    AL       35296
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.12                                                                                                                                   $794.00
Credit First/CFNA                                         Last 4 digits of account number       4    2    1    7
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/2014
BK13 Credit Operations
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 818011                                              Contingent
                                                           Unliquidated
Cleveland                     OH       44181
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Charge Account
Is the claim subject to offset?
 No
 Yes
In collections/McCarthyBurgessWolff
  4.13                                                                                                                                 $1,483.00
Credit One Bank Na                                        Last 4 digits of account number       2    2    3    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        03/2013
PO Box 98873
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Las Vegas                     NV       89193
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
  4.14                                                                                                                                   $608.00
EGS Financial Care, Inc.                                  Last 4 digits of account number       4    5    0    2
Nonpriority Creditor's Name
                                                          When was the debt incurred?
4740 Baxter Rd.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Virginia Beach                VA       23462
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -PayPal Smart
Is the claim subject to offset?
 No
 Yes

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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.15                                                                                                                                   $935.00
First Premier Bank                                        Last 4 digits of account number       6    3    2    0
Nonpriority Creditor's Name
                                                          When was the debt incurred?        09/2015
601 S Minneapolis Ave
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Sioux Falls                   SD       57104
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
  4.16                                                                                                                                   $250.00
IC Systems, Inc                                           Last 4 digits of account number       5    0    0    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        05/2015
444 Highway 96 East
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 64378                                               Contingent
                                                           Unliquidated
St Paul                       MN       55164
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -SETON DELL CHILDREN S
Is the claim subject to offset?
 No
 Yes
  4.17                                                                                                                                 $1,893.00
Lending Club Corp                                         Last 4 digits of account number       6    4    8    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        05/2015
71 Stevenson St
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Suite 300                                                  Contingent
                                                           Unliquidated
San Francisco                 CA       94105
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Unsecured
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.18                                                                                                                                 $1,237.00
Merrick Bank/Geico Card                                   Last 4 digits of account number       7    0    8    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        11/2015
PO Box 23356
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Pittsburg                     PA       15222
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
  4.19                                                                                                                                 $1,317.00
Midland Funding                                           Last 4 digits of account number       1    9    8    4
Nonpriority Creditor's Name
                                                          When was the debt incurred?        05/2012
2365 Northside Dr
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Suite 300                                                  Contingent
                                                           Unliquidated
San Diego                     CA       92108
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -GE MONEY BANK
Is the claim subject to offset?
 No
 Yes
  4.20                                                                                                                                   $480.00
Millennium Financial G                                    Last 4 digits of account number       5    9    1    6
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/2012
3000 United Founders Blv
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Oklahoma City                 OK       73112
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -HSBC BEST BUY CO BRAND
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.21                                                                                                                                 $4,464.00
Navient                                                   Last 4 digits of account number       1    0    0    5
Nonpriority Creditor's Name
                                                          When was the debt incurred?        10/2006
Attn: Claims Dept
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 9500                                                Contingent
                                                           Unliquidated
Wilkes-Barr                   PA       18773
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt
Is the claim subject to offset?
 No
 Yes
  4.22                                                                                                                                 $2,522.00
Navient                                                   Last 4 digits of account number       1    0    0    5
Nonpriority Creditor's Name
                                                          When was the debt incurred?        10/2006
Attn: Claims Dept
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 9500                                                Contingent
                                                           Unliquidated
Wilkes-Barr                   PA       18773
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt
Is the claim subject to offset?
    No
    Yes

  4.23                                                                                                                                 $1,472.00
Navient                                                   Last 4 digits of account number       0    6    2    6
Nonpriority Creditor's Name
                                                          When was the debt incurred?        06/2007
Attn: Claims Dept
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 9500                                                Contingent
                                                           Unliquidated
Wilkes-Barr                   PA       18773
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.24                                                                                                                                 $1,231.00
Navient                                                   Last 4 digits of account number       0    1    1    7
Nonpriority Creditor's Name
                                                          When was the debt incurred?        01/2003
Attn: Claims Dept
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 9500                                                Contingent
                                                           Unliquidated
Wilkes-Barr                   PA       18773
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt
Is the claim subject to offset?
 No
 Yes
  4.25                                                                                                                                   $170.00
Navient                                                   Last 4 digits of account number       0    6    2    6
Nonpriority Creditor's Name
                                                          When was the debt incurred?        06/2007
Attn: Claims Dept
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 9500                                                Contingent
                                                           Unliquidated
Wilkes-Barr                   PA       18773
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt
Is the claim subject to offset?
    No
    Yes

  4.26                                                                                                                                   $518.25
Northland Group, Inc                                      Last 4 digits of account number       7    3    3    6
Nonpriority Creditor's Name
                                                          When was the debt incurred?
PO Box 390846
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Minneapolis                   MN       55439
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -Capital One Kohls
Is the claim subject to offset?
 No
 Yes
2375


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.27                                                                                                                                   $449.00
Pinnacle Credit Services                                  Last 4 digits of account number       6    3    2    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/2013
PO Box 640
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Hopkins                       MN       55343
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -VERIZON WIRELESS
Is the claim subject to offset?
 No
 Yes
  4.28                                                                                                                                 $1,646.00
Portfolio Recovery                                        Last 4 digits of account number       0    2    0    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/2013
PO box 41067
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Norfolk                       VA       23541
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -CAPITAL ONE BANK USA NA
Is the claim subject to offset?
 No
 Yes
  4.29                                                                                                                                   $791.00
Portfolio Recovery                                        Last 4 digits of account number       3    6    7    2
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/2013
PO box 41067
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Norfolk                       VA       23541
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -CAPITAL ONE BANK USA NA
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.30                                                                                                                                 $2,073.02
Portfolio Recovery Associates, LLC                        Last 4 digits of account number       0    2    0    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?
120 Corporate Blvd.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Norfolk                       VA       23502
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -Capital One Bank
Is the claim subject to offset?
 No
 Yes
  4.31                                                                                                                                   $278.62
Sunrise Credit Services                                   Last 4 digits of account number       1    7    0    4
Nonpriority Creditor's Name
                                                          When was the debt incurred?
PO Box 9100
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Farmingdale                   NY       11735-9100
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -ATT&T U Verse
Is the claim subject to offset?
 No
 Yes
J1025350009
  4.32                                                                                                                                 $1,585.00
Syncb/Rooms To Go                                         Last 4 digits of account number       5    8    9    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        05/2014
Attn: Bankruptcy
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 103104                                              Contingent
                                                           Unliquidated
Roswell                       GA       30076
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Charge Account
Is the claim subject to offset?
 No
 Yes

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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.33                                                                                                                                   $678.00
Synchrony Bank                                            Last 4 digits of account number       0    6    8    4
Nonpriority Creditor's Name
                                                          When was the debt incurred?        08/2014
PO Box 965064
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Orlando                       FL       32896
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Charge Account
Is the claim subject to offset?
 No
 Yes
  4.34                                                                                                                                 $1,373.00
Synchrony Bank/ HH Gregg                                  Last 4 digits of account number       5    7    2    4
Nonpriority Creditor's Name
                                                          When was the debt incurred?        01/2014
PO Box 965064
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Orlando                       FL       32896
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Charge Account
Is the claim subject to offset?
 No
 Yes
  4.35                                                                                                                                 $4,700.00
Synchrony Bank/Amazon                                     Last 4 digits of account number       5    5    5    7
Nonpriority Creditor's Name
                                                          When was the debt incurred?        11/2013
PO Box 965064
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Orlando                       FL       32896
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Charge Account
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.36                                                                                                                                 $1,021.00
Synchrony Bank/Amazon                                     Last 4 digits of account number       0    7    8    6
Nonpriority Creditor's Name
                                                          When was the debt incurred?        07/2015
PO Box 965064
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Orlando                       FL       32896
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Charge Account
Is the claim subject to offset?
 No
 Yes
  4.37                                                                                                                                 $5,330.00
Synchrony Bank/Gap                                        Last 4 digits of account number       4    3    7    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        11/2012
PO Box 965064
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Orlando                       FL       32896
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
  4.38                                                                                                                                 $5,732.00
Synchrony Bank/Lowes                                      Last 4 digits of account number       1    5    5    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        03/2013
PO Box 965064
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Orlando                       FL       32896
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Charge Account
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.39                                                                                                                                   $118.79
Texas Children's Pediatrics                               Last 4 digits of account number       9    5    4    5
Nonpriority Creditor's Name
                                                          When was the debt incurred?
PO box 841969
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Dallas                        TX       75284-1969
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Services Rendered
Is the claim subject to offset?
 No
 Yes
  4.40                                                                                                                                    $44.23
Texas Children's Urgent Care                              Last 4 digits of account number       6    8    5    7
Nonpriority Creditor's Name
                                                          When was the debt incurred?
PO Box 847116
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Dallas                        TX       75284-7116
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Services Rendered
Is the claim subject to offset?
 No
 Yes
  4.41                                                                                                                                   $552.12
Transworld Systems, Inc                                   Last 4 digits of account number       2    8    4    2
Nonpriority Creditor's Name
                                                          When was the debt incurred?
507 Prudential Rd.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Horsham                       PA       19044
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -White Knight Pest Control
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher            Lance                 Roberts                         Case number (if known)       16-34006
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                    Total claim
previous page.

  4.42                                                                                                                                   $387.38
United Collection Bureau, Inc                             Last 4 digits of account number       7    7    4    6
Nonpriority Creditor's Name
                                                          When was the debt incurred?
5620 Southwyck Blvd. Suite 206
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
Toledo                        OH       43614
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
   Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Collecting for -Macys
Is the claim subject to offset?
 No
 Yes
  4.43                                                                                                                                 $3,073.00
Usaa Savings Bank                                         Last 4 digits of account number       6    7    7    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        12/2011
Po Box 47504
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                           Contingent
                                                           Unliquidated
San Antonio                   TX       78265
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                            Student loans
  Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes
  4.44                                                                                                                                 $1,165.00
Wells Fargo Bank Card                                     Last 4 digits of account number       4    9    7    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        05/2014
MAC F82535-02F
Number        Street                                      As of the date you file, the claim is: Check all that apply.
PO Box 10438                                               Contingent
                                                           Unliquidated
Des Moines                    IA       50306
                                                           Disputed
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
 Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                              that you did not report as priority claims
 Debtor 1 and Debtor 2 only                               Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                  Other. Specify
      Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Christopher              Lance              Roberts                         Case number (if known)    16-34006
               First Name               Middle Name        Last Name


  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Capital One                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 30285                                                Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                            Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 62180                                                                                
                                                            Last 4 digits of account number       2    4    9    6
Salt Lake City                  UT         84130
City                            State      ZIP Code

In collections/Alliance One

Internal Revenue Service                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 7346                                                 Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
Philadeplphia                   PA         19101-7346
City                            State      ZIP Code


Kohls/Capital One                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 3120                                                 Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                            Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                            
                                                            Last 4 digits of account number       2    3    7    5
Milwaukee                       WI         53201
City                            State      ZIP Code

In collections/Merchants & Medical
In collections/Northland Group

McCarthyBurgess&Wolff                                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
26000 Cannon Rd.                                            Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                            Collecting for -Credit              Part 2: Creditors with Nonpriority Unsecured Claims
                                                            First Bridgestone
                                                                                            
                                                            Last 4 digits of account number       2    1    3    3
Cleveland                       OH         44146
City                            State      ZIP Code

530054217

Merchants & Medical Credit Corp                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
6324 Taylor Drive                                           Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                            Collecting for -Capital             Part 2: Creditors with Nonpriority Unsecured Claims
                                                            One Kohl's
                                                                                            
                                                            Last 4 digits of account number       2    5    7    8
Flint                           MI         48507-4685
City                            State      ZIP Code




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Debtor 1     Christopher           Lance              Roberts                         Case number (if known)    16-34006
             First Name            Middle Name        Last Name


  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Synchrony Bank/PayPal Cr                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 965064                                          Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                       Credit Card                         Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                       
                                                       Last 4 digits of account number       4    5    0    2
Orlando                    FL         32896
City                       State      ZIP Code

In collections/EGS Financial Care, Inc

Visa Dept Store National Bank                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy                                       Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                       Charge Account                      Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 8053                                                                            
                                                       Last 4 digits of account number       3    9    5    0
Mason                      OH         45040
City                       State      ZIP Code

In collections/United Collection Bureau, Inc

White Knight Pest Control                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1900 FM 967 Suite A                                    Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                       Services Rendered                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                       
                                                       Last 4 digits of account number       0    4    1    8
Buda                       TX         78610
City                       State      ZIP Code

In collections/Transworld Systems Inc




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Debtor 1       Christopher              Lance                   Roberts                    Case number (if known)        16-34006
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                     $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +          $1,825.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.              $1,825.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.              $9,859.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $68,735.78


                    6j.     Total.   Add lines 6f through 6i.                                            6j.             $78,594.78




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 19
                      Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 37 of 71

 Fill in this information to identify your case:
 Debtor 1            Christopher          Lance                  Roberts
                     First Name           Middle Name            Last Name

 Debtor 2            Jordan               Gabrielle              Greene
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         16-34006
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease                  State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 38 of 71

 Fill in this information to identify your case:
 Debtor 1             Christopher            Lance                       Roberts
                      First Name             Middle Name                 Last Name

 Debtor 2            Jordan                  Gabrielle                   Greene
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          16-34006
 (if known)                                                                                                              Check if this is an
                                                                                                                          amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           No
           Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Jordan Gabrielle Green
               Name of your spouse, former spouse, or legal equivalent
               30306 Emerson Creek Dr.
               Number        Street


               Spring                                          TX              77386
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
                           Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 39 of 71

 Fill in this information to identify your case:
     Debtor 1               Christopher          Lance                  Roberts
                            First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2               Jordan               Gabrielle              Greene                                   An amended filing
     (Spouse, if filing)    First Name           Middle Name            Last Name                           
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS
                                                                                                                 chapter 13 income as of the following date:
     Case number            16-34006
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                              Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page        Employment status            Employed                                          Employed
      with information about                                          Not employed                                      Not employed
      additional employers.
                                         Occupation             Account Manager                                    Clerical
      Include part-time, seasonal,
      or self-employed work.             Employer's name        Reliance Industrial Products                       All the Marbles, Inc.

      Occupation may include             Employer's address     4111 Kreinhop Road                                 7700 Renwick Dr., Ste 4A
      student or homemaker, if it                               Number Street                                      Number Street
      applies.




                                                                Spring                       TX       77388        Houston                TX      77081
                                                                City                         State    Zip Code     City                   State   Zip Code

                                         How long employed there?        1 year                                            August 2016

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $5,677.90                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                       3.   +            $891.34                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.               $6,569.24                  $0.00




Official Form 106I                                             Schedule I: Your Income                                                                page 1
                            Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 40 of 71
Debtor 1 Christopher                           Lance                               Roberts                                   Case number (if known)    16-34006
            First Name                         Middle Name                         Last Name
                                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                                         non-filing spouse
     Copy line 4 here .................................................................................    4.          $6,569.24                 $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.         $1,083.59                 $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.             $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.             $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                       5d.             $0.00                 $0.00
     5e. Insurance                                                                                          5e.          $100.45                  $0.00
     5f. Domestic support obligations                                                                       5f.             $0.00                 $0.00
     5g. Union dues                                                                                         5g.             $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +           $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                  6.          $1,184.04                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.          7.          $5,385.20                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.             $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                             8b.             $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.             $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.             $0.00                 $0.00
     8e. Social Security                                                                                    8e.             $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.             $0.00                 $0.00
     8g. Pension or retirement income                                                                       8g.             $0.00                 $0.00
     8h. Other monthly income.
         Specify: Family Contribution / 1099 Part Time Income                                               8h. +       $1,000.00              $500.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.          $1,000.00              $500.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.         $6,385.20    +         $500.00       =       $6,885.20
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                         11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                         12.            $6,885.20
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                               Combined
                                                                                                                                                                 monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
           Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                               page 2
                           Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 41 of 71

 Fill in this information to identify your case:
                                                                                                        Check if this is:
     Debtor 1               Christopher           Lance                  Roberts                         An amended filing
                            First Name            Middle Name            Last Name
                                                                                                         A supplement showing postpetition
                                                                                                            chapter 13 expenses as of the
     Debtor 2               Jordan                Gabrielle              Greene
     (Spouse, if filing)    First Name            Middle Name            Last Name                          following date:

     United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS                                    MM / DD / YYYY
     Case number            16-34006
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                 No
                                                                                      Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                               for each dependent.................... Debtor 1 or Debtor 2           age              live with you?
      Debtor 2.
                                                                                  Daughter                           4                   No

      Do not state the dependents'
                                                                                                                                         Yes

      names.                                                                      Son                                3                   No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?
                                                     Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                     Your expenses

4.    The rental or home ownership expenses for your residence.                                                     4.                    $1,251.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                         4a.

      4b. Property, homeowner's, or renter's insurance                                                              4b.

      4c. Home maintenance, repair, and upkeep expenses                                                             4c.

      4d. Homeowner's association or condominium dues                                                               4d.                     $82.50




 Official Form 106J                                             Schedule J: Your Expenses                                                       page 1
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Debtor 1 Christopher                Lance                   Roberts                     Case number (if known)   16-34006
            First Name              Middle Name             Last Name

                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                    $250.00
     6b. Water, sewer, garbage collection                                                            6b.                     $75.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                    $205.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                     $700.00
8.   Childcare and children's education costs                                                        8.                      $60.00
9.   Clothing, laundry, and dry cleaning                                                             9.                      $50.00
10. Personal care products and services                                                              10.

11. Medical and dental expenses                                                                      11.                     $50.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                    $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                    $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.                    $67.33
     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.                   $247.96
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: 1099 Income Estimated Tax                                                               16.                     $75.00
17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.                   $747.38
     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.                   $234.89
     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.



 Official Form 106J                                         Schedule J: Your Expenses                                          page 2
                        Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 43 of 71
Debtor 1 Christopher                  Lance                 Roberts                            Case number (if known)   16-34006
           First Name                 Middle Name           Last Name

21. Other. Specify: Yard Care                                                                                21.    +               $100.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $4,596.06
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $4,596.06

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $6,885.20
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $4,596.06
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                  $2,289.14

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
                          Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 44 of 71

 Fill in this information to identify your case:
 Debtor 1               Christopher                  Lance                       Roberts
                        First Name                   Middle Name                 Last Name

 Debtor 2            Jordan                          Gabrielle                   Greene
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number            16-34006
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                  amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B...................................................................................................         $275,520.00


     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................                $73,382.00


     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................         $348,902.00


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.....                                           $302,144.50

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.....................................                                  $1,825.00


     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................. +                                    $78,594.78



                                                                                                                             Your total liabilities                    $382,564.28




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I......................................................................................                   $6,885.20

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J................................................................................................               $4,596.06




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                            page 1
                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 45 of 71
Debtor 1      Christopher           Lance                 Roberts                          Case number (if known)     16-34006
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $7,569.24


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                          $9,859.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                      $9,859.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 46 of 71

 Fill in this information to identify your case:
 Debtor 1           Christopher         Lance                Roberts
                    First Name          Middle Name          Last Name

 Debtor 2            Jordan             Gabrielle            Greene
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        16-34006
 (if known)                                                                                                 Check if this is an
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Christopher Lance Roberts                         X /s/ Jordan Gabrielle Greene
        Christopher Lance Roberts, Debtor 1                    Jordan Gabrielle Greene, Debtor 2

        Date 08/24/2016                                        Date 08/24/2016
             MM / DD / YYYY                                         MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
                      Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 47 of 71

 Fill in this information to identify your case:
 Debtor 1           Christopher             Lance                 Roberts
                    First Name              Middle Name           Last Name

 Debtor 2            Jordan                 Gabrielle             Greene
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        16-34006
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
      Married
      Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
      No
      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)

        No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


        No
        Yes. Fill in the details.

                                                    Debtor 1                                           Debtor 2

                                                  Sources of income            Gross income         Sources of income             Gross income
                                                  Check all that apply.        (before deductions   Check all that apply.         (before deductions
                                                                               and exclusions                                     and exclusions

From January 1 of the current year until               Wages, commissions,          $44,886.62         Wages, commissions,
the date you filed for bankruptcy:                      bonuses, tips                                    bonuses, tips

                                                       Operating a business                            Operating a business


For the last calendar year:                            Wages, commissions,          $77,442.20         Wages, commissions,              $20,512.80
                                                        bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                 Operating a business                            Operating a business


For the calendar year before that:                     Wages, commissions,          $82,462.73         Wages, commissions,              $43,013.58
                                                        bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                 Operating a business                            Operating a business




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       Christopher             Lance                Roberts                       Case number (if known)   16-34006
               First Name              Middle Name          Last Name

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.


          No
          Yes. Fill in the details.


                                                      Debtor 1                                       Debtor 2

                                                     Sources of income         Gross income         Sources of income         Gross income
                                                     Describe below.           from each source     Describe below.           from each source
                                                                               (before deductions                             (before deductions
                                                                               and exclusions                                 and exclusions

From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:                          Pension and Annuities             $9,978.00
(January 1 to December 31, 2015 )
                                YYYY



For the calendar year before that:
(January 1 to December 31, 2014 )
                                YYYY




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 2
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Debtor 1         Christopher             Lance                Roberts                         Case number (if known)      16-34006
                 First Name              Middle Name          Last Name


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Quickn Loans                                                  6/30/2016          $3,720.82          $123,174.00            Mortgage
Creditor's name                                               5/31/2016                                                     Car
                                                                                                                      
1050 Woodward Ave                                             4/29/2016                                                     Credit card
Number     Street                                                                                                     
                                                                                                                           Loan repayment
                                                                                                                           Suppliers or vendors
Detroit                             MI       48226                                                                         Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Ditech Financial Llc                                          4/30/2016          $2,242.14           $66,751.00            Mortgage
Creditor's name                                               5/30/2016                                                     Car
                                                                                                                      
332 Minnesota St Ste 610                                      6/30/2016                                                     Credit card
Number     Street                                                                                                     
                                                                                                                           Loan repayment
                                                                                                                           Suppliers or vendors
Saint Paul                          MN       55101                                                                         Other Investment Property
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Santander Consumer USA/Chrysler Capital                       5/23/2016          $1,176.00           $59,599.00            Mortgage
Creditor's name                                                                                                             Car
                                                                                                                      
PO Box 961275                                                                                                               Credit card
Number     Street                                                                                                     
                                                                                                                           Loan repayment
                                                                                                                           Suppliers or vendors
Fort Worth                          TX       76161                                                                         Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Christopher           Lance                 Roberts                          Case number (if known)      16-34006
                 First Name            Middle Name           Last Name

                                                             Dates of       Total amount         Amount you           Was this payment for...
                                                             payment        paid                 still owe
Ford Motor Credit                                            4/14/2016          $1,073.00           $51,269.00           Mortgage
Creditor's name                                                                                                           Car
                                                                                                                      
PO Box 62180                                                                                                              Credit card
Number      Street                                                                                                    
                                                                                                                         Loan repayment
                                                                                                                         Suppliers or vendors
Colorado Springs                   CO       80962                                                                        Other
City                               State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.


          No
          Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.




  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.


          No
          Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.


          No. Go to line 11.
          Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

          No
          Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

          No
          Yes




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1       Christopher             Lance                   Roberts                     Case number (if known)     16-34006
               First Name              Middle Name             Last Name


  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
          Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


          No
          Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

          No
          Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

          No
          Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Woodlands Bankruptcy, PC                               $2000.00 attorney fees                                   or transfer was     payment
Person Who Was Paid                                    $310.00 court filing fee                                 made

26310 Oak Ridge Dr., Suite 4                                                                                      June 13, 2016         $1,000.00
Number      Street

                                                                                                               August 10, 2016          $1,310.00

The Woodlands                 tx       77380
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 5
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Debtor 1       Christopher             Lance               Roberts                        Case number (if known)    16-34006
               First Name              Middle Name         Last Name

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


          No
          Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

          No
          Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

          No
          Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     No
     Yes. Fill in the details.
 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

          No
          Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
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Debtor 1       Christopher             Lance                 Roberts                           Case number (if known)         16-34006
               First Name              Middle Name           Last Name


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


          No
          Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
     No
     Yes. Fill in the details.
26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

          No
          Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.




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Debtor 1     Christopher          Lance               Roberts                        Case number (if known)    16-34006
             First Name           Middle Name         Last Name


 Part 12:      Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Christopher Lance Roberts                       X /s/ Jordan Gabrielle Greene
    Christopher Lance Roberts, Debtor 1                   Jordan Gabrielle Greene, Debtor 2

    Date     08/24/2016                                   Date     08/24/2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   No
   Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   No
   Yes. Name of person                                                                    Attach the Bankruptcy Petition Preparer's Notice,
                                                                                           Declaration, and Signature (Official Form 119).




Official Form 107                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8
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                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
  IN RE: Christopher Lance Roberts                                                          CASE NO       16-34006
         Jordan Gabrielle Greene
                                                                                            CHAPTER       13

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                    Scheme Selected: State
                                                                Gross             Total           Total          Total Amount   Total Amount
No.     Category                                        Property Value    Encumbrances           Equity                Exempt    Non-Exempt


1.      Real property                                    $275,520.00          $191,276.50    $84,243.50           $63,294.50     $20,949.00

3.      Motor vehicles (cars, etc.)                       $60,750.00          $110,868.00         $0.00                $0.00            $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00                $0.00         $0.00                $0.00            $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $1,810.00                $0.00     $1,810.00            $1,810.00            $0.00

7.      Electronics                                        $2,700.00                $0.00     $2,700.00            $2,700.00            $0.00

8.      Collectibles of value                                  $0.00                $0.00        $0.00                 $0.00            $0.00

9.      Equipment for sports and hobbies                   $1,000.00                $0.00     $1,000.00            $1,000.00            $0.00

10.     Firearms                                               $0.00                $0.00         $0.00                $0.00            $0.00

11.     Clothes                                              $800.00                $0.00      $800.00               $800.00            $0.00

12.     Jewelry                                            $6,000.00                $0.00     $6,000.00            $6,000.00            $0.00

13.     Non-farm animals                                     $200.00                $0.00      $200.00               $200.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                $0.00        $0.00                 $0.00            $0.00
        incl. health aids

16.     Cash                                                   $0.00                $0.00         $0.00                $0.00            $0.00

17.     Deposits of money                                    $122.00                $0.00      $122.00                 $0.00        $122.00

18.     Bonds, mutual funds or publicly                        $0.00                $0.00        $0.00                 $0.00            $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                $0.00         $0.00                $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                $0.00         $0.00                $0.00            $0.00
        instruments

21.     Retirement or pension accounts                         $0.00                $0.00        $0.00                 $0.00            $0.00

22.     Security deposits and prepayments                      $0.00                $0.00        $0.00                 $0.00            $0.00

23.     Annuities                                              $0.00                $0.00         $0.00                $0.00            $0.00

24.     Interests in an education IRA                          $0.00                $0.00         $0.00                $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                $0.00         $0.00                $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                $0.00         $0.00                $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                $0.00         $0.00                $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                $0.00         $0.00                $0.00            $0.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Christopher Lance Roberts                                                          CASE NO       16-34006
         Jordan Gabrielle Greene
                                                                                            CHAPTER       13

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                              Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                    Scheme Selected: State
                                                           Gross                  Total           Total          Total Amount   Total Amount
No.     Category                                   Property Value         Encumbrances           Equity                Exempt    Non-Exempt


29.     Family support                                     $0.00                    $0.00        $0.00                 $0.00            $0.00

30.     Other amounts someone owes you                     $0.00                    $0.00        $0.00                 $0.00            $0.00

31.     Interests in insurance policies                    $0.00                    $0.00         $0.00                $0.00            $0.00

32.     Any int. in prop. due you from                     $0.00                    $0.00        $0.00                 $0.00            $0.00
        someone who has died

33.     Claims vs. third parties, even                     $0.00                    $0.00         $0.00                $0.00            $0.00
        if no demand

34.     Other contin. and unliq. claims                    $0.00                    $0.00         $0.00                $0.00            $0.00
        of every nature

35.     Any financial assets you did                       $0.00                    $0.00        $0.00                 $0.00            $0.00
        not already list

38.     Accounts rec. or commissions you                   $0.00                    $0.00        $0.00                 $0.00            $0.00
        already earned

39.     Office equipment, furnishings,                     $0.00                    $0.00        $0.00                 $0.00            $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                 $0.00                    $0.00         $0.00                $0.00            $0.00
        tools of trade

41.     Inventory                                           $0.00                   $0.00         $0.00                $0.00            $0.00

42.     Interests in partnerships or                        $0.00                   $0.00         $0.00                $0.00            $0.00
        joint ventures

43.     Customer and mailing lists, or                     $0.00                    $0.00         $0.00                $0.00            $0.00
        other compilations

44.     Any business-related property not                  $0.00                    $0.00         $0.00                $0.00            $0.00
        already listed

47.     Farm animals                                       $0.00                    $0.00        $0.00                 $0.00            $0.00

48.     Crops--either growing or harvested                 $0.00                    $0.00        $0.00                 $0.00            $0.00

49.     Farm/fishing equip., impl., mach.,                 $0.00                    $0.00        $0.00                 $0.00            $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,              $0.00                    $0.00        $0.00                 $0.00            $0.00
        and feed

51.     Farm/commercial fishing-related prop.              $0.00                    $0.00        $0.00                 $0.00            $0.00
        not listed

53.     Any other property of any kind not                 $0.00                    $0.00         $0.00                $0.00            $0.00
        already listed


                    TOTALS:                          $348,902.00              $302,144.50    $96,875.50           $75,804.50     $21,071.00
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                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE: Christopher Lance Roberts                                                            CASE NO        16-34006
         Jordan Gabrielle Greene
                                                                                             CHAPTER         13

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                               Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                   Market Value                       Lien              Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                     $0.00                 $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                 Market Value              Lien              Equity       Non-Exempt Amount

Real Property

5734 Meadow Creek Lane                                                     $87,700.00     $66,751.00         $20,949.00                  $20,949.00

Personal Property

Checking account                                                             $100.00                              $100.00                   $100.00

Other financial account                                                         $7.00                               $7.00                     $7.00

Other financial account                                                        $15.00                              $15.00                    $15.00


                   TOTALS:                                                 $87,822.00      $66,751.00         $21,071.00                 $21,071.00




                                                                Summary
            A. Gross Property Value (not including surrendered property)                                             $348,902.00

            B. Gross Property Value of Surrendered Property                                                                  $0.00

            C. Total Gross Property Value (A+B)                                                                      $348,902.00

            D. Gross Amount of Encumbrances (not including surrendered property)                                     $302,144.50

            E. Gross Amount of Encumbrances on Surrendered Property                                                          $0.00

            F. Total Gross Encumbrances (D+E)                                                                        $302,144.50

            G. Total Equity (not including surrendered property) / (A-D)                                              $96,875.50

            H. Total Equity in surrendered items (B-E)                                                                       $0.00

            I. Total Equity (C-F)                                                                                     $96,875.50

            J. Total Exemptions Claimed                                                                               $75,804.50

            K. Total Non-Exempt Property Remaining (G-J)                                                             $21,071.00
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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:
                                                                                             According to the calculations required by this
 Debtor 1           Christopher             Lance                 Roberts
                    First Name              Middle Name           Last Name                  Statement:

 Debtor 2            Jordan                 Gabrielle             Greene                     1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name           Last Name                       under 11 U.S.C. § 1325(b)(3).

                                                                                               2. Disposable income is determined
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                under 11 U.S.C. § 1325(b)(3).

 Case number        16-34006                                                                 3. The commitment period is 3 years.
 (if known)
                                                                                             4. The commitment period is 5 years.

Official Form 122C-1                                                                            Check if this is an amended filing


Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

         Not married. Fill out Column A, lines 2-11.

         Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                           Column A         Column B
                                                                                           Debtor 1         Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $6,569.24                 $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1           Debtor 2
     Gross receipts (before all                       $0.00               $0.00
     deductions)
     Ordinary and necessary operating      –          $0.00   –           $0.00
     expenses                                                                     Copy
     Net monthly income from a business,              $0.00               $0.00 here             $0.00                $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
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Debtor 1         Christopher                      Lance                             Roberts                                       Case number (if known) 16-34006
                 First Name                       Middle Name                       Last Name

                                                                                                                                      Column A        Column B
                                                                                                                                      Debtor 1        Debtor 2 or
                                                                                                                                                      non-filing spouse

6.    Net income from rental and other real property

                                                               Debtor 1                       Debtor 2
      Gross receipts (before all                                            $0.00                          $0.00
      deductions)
      Ordinary and necessary operating                     –                $0.00         –                $0.00
      expenses                                                                                                             Copy
      Net monthly income from rental or                                     $0.00                          $0.00 here                        $0.00            $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                      $0.00            $0.00
8.    Unemployment compensation                                                                                                               $0.00            $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: .................

          For you...............................................................................                $0.00
          For your spouse.................................................................                      $0.00
9.    Pension or retirement income. Do not include any amount received that                                                                   $0.00            $0.00
      was a benefit under the Social Security Act.
10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.

      Family Member Contribution                                                                                                       $1,000.00


      Total amounts from separate pages, if any.                                                                                  +                   +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                            $7,569.24      +        $0.00   =      $7,569.24
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total average
                                                                                                                                                                          monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
12. Copy your total average monthly income from line 11. .........................................................................................................            $7,569.24
13. Calculate the marital adjustment. Check one:

           You are not married. Fill in 0 below.
           You are married and your spouse is filing with you. Fill in 0 below.
           You are married and your spouse is not filing with you.
            Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
            of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
            than you or your dependents.
            Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
            necessary, list additional adjustments on a separate page.

            If this adjustment does not apply, enter 0 below.




                                                                                                                       +
            Total...................................................................................................                  $0.00      Copy here               –       $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                  $7,569.24




Official Form 122C-1                       Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                page 2
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Debtor 1      Christopher                      Lance                             Roberts                                           Case number (if known) 16-34006
              First Name                       Middle Name                       Last Name

15. Calculate your current monthly income for the year. Follow these steps:

    15a.    Copy line 14 here             ......................................................................................................................................................           $7,569.24

            Multiply line 15a by 12 (the number of months in a year).                                                                                                                                  X      12

    15b.    The result is your current monthly income for the year for this part of the form. ...............................................................                                              $90,830.88

16. Calculate the median family income that applies to you. Follow these steps:

    16a.    Fill in the state in which you live.                                                          Texas
    16b.    Fill in the number of people in your household.                                                    4

    16c.    Fill in the median family income for your state and size of household...............................................................................                                           $72,698.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                   under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                   11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                   On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:         Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                      ......................................................................................................        $7,569.24

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.    If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................                             –              $0.00

    19b.    Subtract line 19a from line 18.                                                                                                                                                                 $7,569.24

20. Calculate your current monthly income for the year. Follow these steps:
    20a.    Copy line 19b ...................................................................................................................................................................               $7,569.24
            Multiply by 12 (the number of months in a year).                                                                                                                                           X      12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                              $90,830.88

    20c.    Copy the median family income for your state and size of household from line 16c. ......................................................                                                       $72,698.00
21. How do the lines compare?

          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.

          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.

 Part 4:         Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Christopher Lance Roberts                                                                           X    /s/ Jordan Gabrielle Greene
        Christopher Lance Roberts, Debtor 1                                                                          Jordan Gabrielle Greene, Debtor 2

        Date 8/24/2016                                                                                                Date 8/24/2016
             MM / DD / YYYY                                                                                                MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1                    Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                page 3
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 Fill in this information to identify your case:
 Debtor 1               Christopher                   Lance                         Roberts
                        First Name                    Middle Name                   Last Name

 Debtor 2            Jordan                           Gabrielle                     Greene
 (Spouse, if filing) First Name                       Middle Name                   Last Name


 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number            16-34006
 (if known)
                                                                                                                                Check if this is an amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                          04/16
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and
Calculation of Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5
and 6 of Form 122C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

 5.   The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                       4
      be different from the number of people in your household.


 National Standards                You must use the IRS National Standards to answer the questions in lines 6-7.

 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                $1,509.00
      fill in the dollar amount for food, clothing, and other items.
 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are
      under 65 and people who are 65 or older--because older people have a higher IRS allowance for health care costs. If
      your actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                     $54.00
      7b. Number of people who are under 65                                         X                 4
                                                                                                             Copy
      7c. Subtotal. Multiply line 7a by line 7b.                                           $216.00           here                      $216.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                   $130.00
      7e. Number of people who are 65 or older                                      X
                                                                                                             Copy
      7f.   Subtotal. Multiply line 7d by line 7e.                                             $0.00         here               +         $0.00
                                                                                                                                                       Copy
      7g. Total. Add lines 7c and 7f..........................................................................................          $216.00        here           $216.00




Official Form 122C-2                                                  Chapter 13 Calculation of Your Disposable Income                                                    page 1
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Debtor 1    Christopher            Lance                 Roberts                            Case number (if known) 16-34006
            First Name             Middle Name           Last Name


 Local Standards            You must use the IRS Local Standards to answer the questions in lines 8-15.


 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

  Housing and utilities -- Insurance and operating expenses
  Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using
 the link specified in the separate instructions for this form. This chart may also be available at the
 bankruptcy clerk's office.

 8.   Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,              $637.00
      fill in the dollar amount listed for your county for insurance and operating expenses.

 9.   Housing and utilities -- Mortgage or rent expenses:

      9a. Using the number of people you entered in line 5, fill in the dollar amount listed           $1,494.00
          for your county for mortgage or rent expenses.

      9b. Total average monthly payment for all mortgages and other debts secured by
          your home.

           To calculate the total average monthly payment, add all amounts that are
           contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Next divide by 60.

            Name of the creditor                                 Average monthly
                                                                 payment

           Quickn Loans                                              $1,250.00



                                                             +
                                                                                                                 Repeat this
                                                                                   Copy                          amount on
           9b. Total average monthly payment                         $1,250.00     here          –    $1,250.00 line 33a.

      9c. Net mortgage or rent expense.
                                                                                                                     Copy
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or                    $244.00     here      $244.00
           rent expense). If this number is less than $0, enter $0.


 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

      Explain
      why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
          0. Go to line 14.
          1. Go to line 12.
          2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                $562.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                              page 2
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Debtor 1     Christopher               Lance                    Roberts                                 Case number (if known) 16-34006
             First Name                Middle Name              Last Name

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1        Describe Vehicle 1:         2015 Dodge Ram (approx. 16000 miles)



      13a. Ownership or leasing costs using IRS Local Standard. ................................................         $471.00

      13b. Average monthly payment for all debts secured by Vehicle 1.

           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all
           amounts that are contractually due to each secured creditor in the 60 months
           after you file for bankruptcy. Then divide by 60.


             Name of each creditor for Vehicle 1                         Average monthly
                                                                         payment


           Santander Consumer USA/Chrysler Capit                               $993.32

                                                                     +
                                                                                                                                 Repeat this
                                                                                              Copy                               amount on
                               Total average monthly payment                   $993.32        here                 –    $993.32 line 33b.

                                                                                                                                 Copy net
                                                                                                                                 Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                             expense
           Subtract line 13b from line 13a. If this number is less than $0, enter $0. ....................                 $0.00 here         $0.00

      Vehicle 2        Describe Vehicle 2:         2013 Ford Flex LTD (approx. 42200 miles)



      13d. Ownership or leasing costs using IRS Local Standard. ................................................         $471.00

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

             Name of each creditor for Vehicle 2                         Average monthly
                                                                         payment


           Ford Motor Credit                                                   $854.48


                                                                                                                                 Repeat this
                                                                                              Copy                               amount on
                               Total average monthly payment                   $854.48        here                 –    $854.48 line 33c.

                                                                                                                                 Copy net
                                                                                                                                 Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                             expense
           Subtract line 13e from 13d. If this number is less than $0, enter $0.              ........................     $0.00 here         $0.00

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                    $0.00
     Transportation expense allowance regardless of whether you use public transportation.

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                      $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.




Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                   page 3
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Debtor 1       Christopher         Lance                Roberts                          Case number (if known) 16-34006
               First Name         Middle Name           Last Name

 Other Necessary Expenses           In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                    following IRS categories.

 16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-                           $1,083.59
     employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.
     Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                             $0.00
     union dues, and uniform costs.
     Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                                $0.00
     filing together, include payments that you make for your spouse's term life insurance.
     Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any
     form of life insurance other than term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                                $0.00
     agency, such as spousal or child support payments.
     Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                                            $0.00
      as a condition for your job, or
      for your physically or mentally challenged dependent child if no public education is available for similar services.
 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                              $0.00
     Do not include payments for any elementary or secondary school education.
 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                                   $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services                           +       $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.
     Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
     expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                                         $4,251.59

 Additional Expense Deductions           These are additional deductions allowed by the Means Test.
                                         Note: Do not include any expense allowances listed in lines 6-24.
 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.

      Health insurance                                          $112.62
      Disability insurance                                          $0.00
      Health savings account                           +            $0.00

      Total                                                     $112.62 Copy total here       ...................................................    $112.62

      Do you actually spend this total amount?

             No. How much do you actually spend?
             Yes
 26. Continued contributions to the care of household or family members. The actual monthly expenses that you                                           $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                       $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
     By law, the court must keep the nature of these expenses confidential.




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                                    page 4
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Debtor 1     Christopher                   Lance                          Roberts                                      Case number (if known) 16-34006
             First Name                    Middle Name                    Last Name

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                         $0.00
     $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                   +      $0.00
     instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
      Do not include any amount more than 15% of your gross monthly income.
 32. Add all of the additional expense deductions.                                                                                                                $112.62
     Add lines 25 though 31.

 Deductions for Debt Payment

 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                              Average monthly
                                                                                                                              payment
             Mortgages on your home
      33a.   Copy line 9b here..................................................................................................   $1,250.00
             Loans on your first two vehicles
      33b.   Copy line 13b here................................................................................................     $993.32
      33c.   Copy line 13e here................................................................................................     $854.48
      33d.   List other secured debts:
      Name of each creditor for                               Identify property that                     Does payment
      other secured debt                                      secures the debt                           include taxes or
                                                                                                         insurance?

                                                                                                                      No
                                                                                                                      Yes

                                                                                                                      No
                                                                                                                      Yes

                                                                                                                      No
                                                                                                                               +
                                                                                                                      Yes
                                                                                                                                                Copy total
      33e.   Total average monthly payment. Add lines 33a through 33d....................................                           $3,097.80   here            $3,097.80




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                page 5
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Debtor 1      Christopher                Lance                       Roberts                                  Case number (if known) 16-34006
              First Name                 Middle Name                 Last Name

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

           No. Go to line 35.
           Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep
                 possession of your property (called the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                    Identify property that                     Total cure                            Monthly cure
                                         secures the debt                           amount                                amount

                                                                                                          ÷ 60 =

                                                                                                          ÷ 60 =

                                                                                                          ÷ 60 =     +
                                                                                                                                            Copy total
                                                                                                            Total                 $0.00     here           $0.00

 35. Do you owe any priority claims--such as a priority tax, child support, or
     alimony--that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.

           No. Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include
                 current or ongoing priority claims, such as those you listed in line 19.

                    Total amount of all past-due priority claims.......................................................        $1,825.00    ÷ 60 =         $30.42

 36. Projected monthly Chapter 13 plan payment                                                                                 $1,998.11
      Current multiplier for your district as stated on the list issued by the Administrative
      Office of the United States Courts (for districts in Alabama and North Carolina) or
      by the Executive Office for United States Trustees (for all other districts).

                                                                                                                           X          6 %
      To find a list of district multipliers that includes your district, go online using the link
      specified in the separate instructions for this form. This list may also be available
      at the bankruptcy clerk's office.

                                                                                                                                            Copy total
      Average monthly administrative expense                                                                                    $119.89     here         $119.89

 37. Add all of the deductions for debt payment.
     Add lines 33g through 36.                                                                                                                           $3,248.11

 Total Deductions from Income

 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS expense allowances...................                                $4,251.59

      Copy line 32, All of the additional expense deductions..................................................                  $112.62

      Copy line 37, All of the deductions for debt payment.....................................................      +         $3,248.11
                                                                                                                                            Copy total
      Total deductions                                                                                                         $7,612.32    here        $7,612.32



 Part 2:        Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
 39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
     Statement of Your Current Monthly Income and Calculation of Commitment Period. .................................................                    $7,569.24




Official Form 122C-2                                            Chapter 13 Calculation of Your Disposable Income                                             page 6
                             Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 67 of 71
Debtor 1         Christopher                   Lance                         Roberts                                      Case number (if known) 16-34006
                 First Name                    Middle Name                   Last Name

 40. Fill in any reasonably necessary income you receive for support of dependent children.
     The monthly average of any child support payments, foster care payments, or
     disability payments for a dependent child, reported in Part 1 of Form 122C-1, that
     you received in accordance with applicable nonbankruptcy law to the extent
     reasonably necessary to be expended for such child.

 41. Fill in all qualified retirement deductions. The monthly total of all amounts that
     your employer withheld from wages as contributions for qualified retirement
     plans, as specified in 11 U.S.C. § 541(b)(7) plus all required repayments of loans
                                                                                                                                        $0.00
     from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

 42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A).
     Copy line 38 here.......................................................................................................      $7,612.32

 43. Deduction for special circumstances. If special circumstances justify additional
     expenses and you have no reasonable alternative, describe the special
     circumstances and their expenses. You must give your case trustee a detailed
     explanation of the special circumstances and documentation for the expenses.

          Describe the special circumstances                                           Amount of expense




                                                                                        +
                                                                                                                   Copy
                                                                                                       $0.00 here
                                                                                                                  +
                                                                             Total                                                      $0.00

                                                                                                                                                 Copy
 44. Total adjustments. Add lines 40 through 43................................................................                    $7,612.32    here        –   $7,612.32


 45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                    ($43.08)

 Part 3:           Change in Income or Expenses
 46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or are
     virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in the
     information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first column, enter
     line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the amount of the
     increase.


          Form              Line        Reason for change                                                            Date of change         Increase or     Amount of change
                                                                                                                                            decrease?

               122C-1                                                                                                                         Increase
               122C-2                                                                                                                         Decrease

               122C-1                                                                                                                         Increase
               122C-2                                                                                                                         Decrease

               122C-1                                                                                                                         Increase
               122C-2                                                                                                                         Decrease

               122C-1                                                                                                                         Increase
               122C-2                                                                                                                         Decrease




Official Form 122C-2                                                     Chapter 13 Calculation of Your Disposable Income                                              page 7
                       Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 68 of 71
Debtor 1      Christopher         Lance                 Roberts                          Case number (if known) 16-34006
              First Name          Middle Name           Last Name


 Part 4:       Sign Below

      By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X    /s/ Christopher Lance Roberts                                      X   /s/ Jordan Gabrielle Greene
           Christopher Lance Roberts, Debtor 1                                    Jordan Gabrielle Greene, Debtor 2

           Date 8/24/2016                                                         Date 8/24/2016
                MM / DD / YYYY                                                         MM / DD / YYYY




Official Form 122C-2                                 Chapter 13 Calculation of Your Disposable Income                                        page 8
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                                      Current Monthly Income Calculation Details
In re: Christopher Lance Roberts                                        Case Number: 16-34006
       Jordan Gabrielle Greene                                          Chapter:     13

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                     Reliance IndProducts/Applied Ind Tech
                                             $6,569.23    $6,280.78   $8,988.48  $5,992.32            $5,992.32   $5,592.30   $6,569.24

10.   Income from all other sources not listed above.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                     Family Member Contribution
                                             $1,000.00  $1,000.00    $1,000.00          $1,000.00     $1,000.00   $1,000.00   $1,000.00




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                    Case 16-34006 Document 17 Filed in TXSB on 08/24/16 Page 70 of 71

                                        Underlying Allowances (as of 08/10/2016)
In re: Christopher Lance Roberts                                          Case Number: 16-34006
       Jordan Gabrielle Greene                                            Chapter:     13


                                                      Median Income Information
 State of Residence                                                   Texas
 Household Size                                                       4
 Median Income per Census Bureau Data                                 $72,698.00



               National Standards: Food, Clothing, Household Supplies, Personal Care, and Miscellaneous
 Region                                                               US
 Family Size                                                          4
 Gross Monthly Income                                                 $7,569.24
 Income Level                                                         Not Applicable
 Food                                                                 $815.00
 Housekeeping Supplies                                                $71.00
 Apparel and Services                                                 $227.00
 Personal Care Products and Services                                  $74.00
 Miscellaneous                                                        $322.00
 Additional Allowance for Family Size Greater Than 4                  $0.00
 Total                                                                $1,509.00

                       National Standards: Health Care (only applies to cases filed on or after 1/1/08)
 Household members under 65 years of age
 Allowance per member                                                 $54.00
 Number of members                                                    4
 Subtotal                                                             $216.00
 Household members 65 years of age or older
 Allowance per member                                                 $130.00
 Number of members                                                    0
 Subtotal                                                             $0.00
 Total                                                                $216.00

                                               Local Standards: Housing and Utilities
 State Name                                                           Texas
 County or City Name                                                  Montgomery County
 Family Size                                                          Family of 4
 Non-Mortgage Expenses                                                $637.00
 Mortgage/Rent Expense Allowance                                      $1,494.00
 Minus Average Monthly Payment for Debts Secured by Home              $1,250.00
 Equals Net Mortgage/Rental Expense                                   $244.00
 Housing and Utilities Adjustment                                     $0.00




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                                          Underlying Allowances (as of 08/10/2016)
In re: Christopher Lance Roberts                                       Case Number: 16-34006
       Jordan Gabrielle Greene                                         Chapter:     13


                           Local Standards: Transportation; Vehicle Operation/Public Transportation
 Transportation Region                                                Houston
 Number of Vehicles Operated                                          2 or more
 Allowance                                                            $562.00
                           Local Standards: Transportation; Additional Public Transportation Expense
 Transportation Region                                                Houston
 Allowance (if entitled)                                              $173.00
 Amount Claimed                                                       $0.00
                                  Local Standards: Transportation; Ownership/Lease Expense
 Transportation Region                                                Houston
 Number of Vehicles with Ownership/Lease Expense                      2 or more
                                                    First Car                                              Second Car
 Allowance                      $471.00                                                $471.00
 Minus Average Monthly
 Payment for Debts              $993.32                                                $854.48
 Secured by Vehicle
 Equals Net Ownership /         $0.00                                                  $0.00
 Lease Expense




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